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                        IN	THE	UNITED	STATES	DISTRICT	COURT	
                            OF	THE	DISTRICT	OF	COLUMBIA		
	
VALERIE	MCMULLEN	                              )	
	    	       	                                 )	
	    Plaintiff,	                               )	
	    	       	                                 )	
	    	       v.	                               )	 Civil	Action	No.	14-1983-JDB	
	    	       	                                 )	
SYNCHRONY	BANK,	et.	al.	                       )	
	    	       	                                 )	
	    Defendants.	                              )	
	
                               SUGGESTION	OF	BANKRUPTCY	
	
	      Defendant	Karim	Steward,	by	and	through	undersigned	counsel,	hereby	files	this	

notice	that	a	Chapter	7	Bankruptcy	petition	was	filed	on	Mr.	Steward’s	behalf	on	September	

14,	2016,	before	the	U.S.	Bankruptcy	Court	for	the	District	of	Columbia,	case	no.	16-00479.	

Pursuant	to	11	U.S.C.	362,	an	automatic	stay	is	in	effect	in	which	any	pending	legal	

proceedings	involving	Mr.	Steward	are	stayed.		 	         	

	      	       	

                                           Respectfully submitted,

                                              /s/ Patrick C. Horrell
                                           Patrick C. Horrell, Esq.
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                                     CERTIFICATE	OF	SERVICE	
                                                  	
       I hereby certify that on this 14th day of September, 2016, a copy of the foregoing

Suggestion of Bankruptcy was filed by e-filing, and served on the following parties: Brendan

Klaproth, Esq. (Attorney for Plaintiff); Robert Wick, Esq. and Eric Bosset, Esq. (Attorneys for

Defendant JP Morgan Chase & Co.); Brenda S. Everman and Marcos Sassos, Esq. (Attorneys for

Defendant Synchronoy Bank); Sidney S. Friedman, Esq. (Attorney for Bullen Defendants).

                                                /s/ Patrick C. Horrell
                                             Patrick C. Horrell, Esq.




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